 Case 1:19-cv-00408-LMB-TCB Document 1 Filed 04/08/19 Page 1 of 8 PageID# 1



                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


JANET L. NEWKIRK,
                                                         CASE NO.:
                    Plaintiff,
                                                         JUDGE:
          -v-

I. C. SYSTEM, INC.,                                      COMPLAINT
                                                         JURY TRIAL DEMANDED
                    Defendant.


      Plaintiff, Janet L. Newkirk, for her complaint against I. C. System, Inc. ("Defendant"),

states:

                                      NATURE OF THE ACTION

          1.    Plaintiff brings this action seeking damages pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. §§ 1692 et seq. ("FDCPA"), for Defendant's unlawful collection

practices as more fully described in this complaint.

                                     JURISDICTION AND VENUE

          2.    This action arises under and is brought pursuant to the FDCPA. Subject matter

jurisdiction is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331,

1337, as the action arises under the laws of the United States.

          3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts

business in the Eastern District of Virginia and the events and/or omissions giving rise to the

claims made in this complaint occurred within the Eastern District of Virginia.

                                             PARTIES
 Case 1:19-cv-00408-LMB-TCB Document 1 Filed 04/08/19 Page 2 of 8 PageID# 2



        4.      Plaintiff, Janet L. Newkirk ("Ms. Newkirk"), is a natural adult person residing in

Woodbridge, Virginia, which lies within the Eastern District of Virginia.

        5.      Ms. Newkirk is a "consumer" as defined by§ 1692a(3) of the FDCPA.

        6.      Defendant, I. C. System, Inc., is a Minnesota corporation, having a Certificate of

Authority to transact business in the Commonwealth of Virginia, in the business of collecting

consumer debts on behalf of others within the State of Virginia and throughout the United States.

As such, Defendant regularly uses the mail and/or telephone to collect, or attempt to collect,

delinquent consumer accounts.

       7.       In its communications to consumers, Defendant identifies itself as a "debt collector."

       8.       Defendant is a "debt collector" as defined by§ 1692a(6) of the FDCPA.

       9.       Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives and/or insurers

at all times relevant to this action.

                               FACTS SUPPORTING CAUSES OF ACTION

       10.      As Ms. Newkirk was checking her credit, she discovered an entry bearing

Defendant's name that was reporting in a collection status. Relevant pages from Ms. Newkirk's

Trans Union credit report, dated February 11, 2019, are attached to this complaint as Exhibit A.

       11.      Ms. Newkirk also noticed that Defendant had updated its reporting of the

collection account appearing in her credit report as recently as February 3, 2019. See Exhibit A.

       12.      Ms. Newkirk did not recognize this account as belonging to her.

       13.      On or around February 11, 2019, Ms. Newkirk contacted Defendant via phone to

ascertain more information about the entry appearing in her credit report and the debt Defendant

was attempting to collect from her (the "Phone Call").


                                                  2
  Case 1:19-cv-00408-LMB-TCB Document 1 Filed 04/08/19 Page 3 of 8 PageID# 3



       14.      During the Phone Call, Ms. Newkirk spoke with a representative for Defendant,

who identified Defendant as a debt collector attempting to collect upon a debt.

       15.      During the Phone Call, Defendant's agent represented to Ms. Newkirk that she

owed Defendant a balance of $397.00 in connection with a debt Ms. Newkirk allegedly incurred

to Banfield Pet Hospital on April 14, 2012 (the "Subject Debt").

       16.      Defendant's agent attempted to collect payment of the Subject Debt from Ms.

Newkirk during the Phone Call.

       17.      The applicable statute of limitations for theSubject Debt states, in relevant part:


                "§ 8.01-246. Personal actions based on contracts.

               Subject to the provisions of§ 8.01-243 regarding injuries to person and
               property and of § 8.01-245 regarding the application of limitations to
               fiduciaries, and their bonds, actions founded upon a contract, other than
               actions on a judgment or decree, shall be brought within the following
               number of years next after the cause of action shall have accrued:

                4. In actions upon any unwritten contract, express or implied, within three
                years.
                Provided that as to any action to which § 8.2-725 of the Uniform
                Commercial Code is applicable, that section shall be controlling except
                that in products liability actions for injury to person and for injury to
                property, other than the property subject to contract, the limitation
                prescribed in§ 8.01-243 shall apply."
                Code 1950,§§ 8-13, 8-17, 8-23; 1964, c. 219; 1966, c. 118; 1977, c. 617.

       18.      Thus, given the applicable five (3) year statute of limitations and the fact that the

Subject Debt fell into delinquency on or about May 14, 2012, as of February 11, 2019, the date

of the Phone Call, the Subject Debt was a time-barred debt, i.e., it fell outside the applicable

statute of limitations.




                                                  3
 Case 1:19-cv-00408-LMB-TCB Document 1 Filed 04/08/19 Page 4 of 8 PageID# 4



      19.      Despite the time-barred status of the Subject Debt, at no point during the Phone

Call did Defendant's agent disclose or explain to Ms. Newkirk that the Subject Debt was time­

barred or that Defendant could not sue Ms. Newkirk to collect it.

      20.      Despite the time-barred status of the Subject Debt, at no point during the Phone

Call did Defendant's agent disclose or explain to Ms. Newkirk that by paying, or just agreeing to

pay, any portion of the Subject Debt, or merely acknowledging the Subject Debt as valid, it

could have the effect of resetting the applicable statute of limitations as to the Subject Debt,

potentially subjecting Ms. Newkirk to further legal liability.

      21.      After a reasonable time to conduct discovery, Ms. Newkirk believes she can prove

that all actions taken by Defendant as described in this complaint were taken willfully and/or

with knowledge that its actions were taken in violation of the law.

                                             DAMAGES

      22.      In conjunction with Defendant's February 3, 2019 adverse credit reporting

concerning the Subject Debt, Ms. Newkirk was misled by the Phone Call.

      23.      Ms. Newkirk justifiably fears that, absent this Court's intervention, Defendant

will continue to attempt to collect payment from her using abusive, deceptive and unlawful

means, and ultimately cause her unwarranted economic harm.

      24.      Due to Defendant's conduct, Ms. Newkirk was forced to hire counsel and her

damages therefore include reasonable attorneys' fees incurred in prosecuting this action.

      25.      After a reasonable time to conduct discovery, Ms. Newkirk believes she can prove

that all actions taken by Defendant as described in this complaint were taken willfully and/or

with knowledge that its actions were taken in violation of the law.




                                                 4
 Case 1:19-cv-00408-LMB-TCB Document 1 Filed 04/08/19 Page 5 of 8 PageID# 5



       26.     Due to Defendant's conduct, Ms. Newkirk is entitled to statutory damages,

punitive damages and all other appropriate measures to punish and deter Defendant and other

debt collection agencies from engaging in the unlawful collection practices described herein.

                                    GROUNDS FOR RELIEF

                   VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 US.C. §§ 1692e, e(2)(A), e(JO) and{

       27.     All prior paragraphs are incorporated into this count by reference.

       28.     The FDCP A states, in relevant part:

                    "A debt collector may not use any false, deceptive, or misleading
                   representation or means in connection with the collection of any debt.
                   Without limiting the general application of the foregoing, the
                   following conduct is a violation of this section: (2) The false
                   representation of -- (A) the character, amount, or legal status of any
                   debt; (10) The use of any false representation or deceptive means to
                   collect or attempt to collect any debt or to obtain information
                   concerning a consumer." 15 U.S.C. §§ 1692e, e(2)(A) and e(I0).

                   "A debt collector may not use unfair or unconscionable means to
                   collect or attempt to collect any debt." 15 U.S.C. § 1692f.

       29.     Defendant violated 15 U.S.C. §§ 1692e, e(2)(A), e(l0), and f during the Phone

Call, in conjunction with its February 3, 2019 adverse credit reporting, by attempting to collect

the Subject Debt despite omitting the disclosure of any information whatsoever to Plaintiff

regarding the Subject Debt's time-barred status and/or the potential legal consequences of

Plaintiff paying, or agreeing to pay, upon the subject time-barred debt.

       30.     Defendant knew, or should have known, that the Subject Debt was time-barred,

yet failed to provide complete and/or accurate disclosure of same to Plaintiff.

       31.      Such representations and/or omissions served only to confuse and intimidate

Plaintiff in the hopes that she waived her rights and affirmative defenses under the law. Plaintiff

was unable to adequately determine the character and legal status of the Subject Debt based upon

                                                 5
 Case 1:19-cv-00408-LMB-TCB Document 1 Filed 04/08/19 Page 6 of 8 PageID# 6



Defendant's representations and/or omissions, and was unable to adequately determine the

potential legal consequences of making, or arranging to make, a payment on the Subject Debt.

       32.     As an experienced debt collector, Defendant knows that its representations to

consumers concerning the legal status of an alleged debt owed, and the consumer's rights under

the FDCPA and/or the applicable statute of limitations, are required to be truthful, complete and

accurate, and disclosed without any intent to mislead or deceive.

       33.     As Plaintiff had no prior contractual relationship or dealings with Defendant,

Plaintiff was justifiably confused and skeptical of the representations and/or omissions regarding

the legal status of the Subject Debt, as well as Defendant's ability to legally collect upon it.

       34.     As set forth in paragraphs 22 through 26 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant's unlawful collection practices as described herein.

                                      PRAYER FOR RELIEF

    WHEREFORE, Plaintiff, Janet L. Newkirk, respectfully requests that this Court enter

judgment in her favor as follows:

       A. Awarding Plaintiff actual damages, in such amounts as determined by the jury, as
          provided under 15 U.S.C. § 1692k;

       B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided under
          15 U.S.C. § 1692k(a)(2)(A);

       C. Awarding Plaintiff the costs of this action and reasonable attorneys' fees, as
          provided under 15 U.S.C. § 1692k(a)(3); and

       D. Awarding Plaintiff such other and further relief as may be just and proper.

                                          JURY DEMAND

Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.




                                                   6
 Case 1:19-cv-00408-LMB-TCB Document 1 Filed 04/08/19 Page 7 of 8 PageID# 7



                                                   Respectfully Submitted,

                                                   JANET L. NEWKIRK

                                                   By Counsel

PIKRALLIDAS LAW
10605 Judicial Drive, Building #A4
Fairfax, Virginia, 22030
Tel: (703) 267-2600
Fax: (703) 273-8046

      ISi
Demetrios C. Pikrallidas, Esq. (VSB # 33872)
Email: DP@piklaw.com
Ryan M. Probasco, Esq. (VSB # 85431)
Email: RP@piklaw.com

Counsellors for the Plaintiff




                                               7
Case 1:19-cv-00408-LMB-TCB Document 1 Filed 04/08/19 Page 8 of 8 PageID# 8




                  VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF VIRGINIA
                 ) ss
COUNTY OF ______ )

Pursuant to 28 U.S.C. § 1746, Plaintiff, Janet L. Newkirk, having first been duly sworn and upon
oath, verifies, certifies, and declares as follows:

   1. I am the Plaintiff in this civil proceeding.

   2. I have read the above-entitled Complaint prepared by my attorneys and I believe that all of
   the facts contained in it are true, to the best of my knowledge, information and belief formed after
   reasonable inquiry.

   3. I believe that this Complaint is well grounded in fact and warranted by existing law or by a
   good faith argument for the extension, modification, or reversal of existing law.

   4. I believe that this Complaint is not interposed for any improper purpose, such as to harass
   Defendant, cause unnecessary delay to Defendant, or create a needless increase in the cost of
   litigation to Defendant.

   5. I have filed this Complaint in good faith and solely for the purposes set forth in it.


   I declare under penalty of perjury that the foregoing is true and correct.

                          3/12/2019
       Executed on ---------


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                                        □ocu81gned by:

               -------�
                                      Signature



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